   7:22-cv-03576-DCC           Date Filed 03/06/25        Entry Number 116       Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION

JANE DOE 1, JANE DOE 2, JOHN DOE 1,               )
AND JOHN DOE 2,                                   )
                                                  )
               Plaintiffs,                        )          Case No: 7:22-cv-03576-DCC
                                                  )
       vs.                                        )
                                                  )        STIPULATION OF DISMISSAL
COLLINS MURPHY, LIMESTONE                         )             WITH PREJUDICE
UNIVERSITY, BRENDA F. WATKINS,                    )
SHARON HAMMONDS, and MG                           )
FREESITES, LTD. d/b/a                             )
PORNHUB.COM,                                      )
                                                  )
               Defendants.                        )
                                                  )


       PURSUANT TO RULE 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs

Jane Doe 1, Jane Doe 2, John Doe 1, and John Doe 2, by and through their undersigned counsel,

hereby stipulate to the dismissal of this action with prejudice. Each party agrees to bear its own

costs, expenses and attorneys’ fees. This Stipulation shall end the case.

       IT IS SO STIPULATED.



                                                      WESLEY D. FEW, LLC

                                                      /s/ Wesley D. Few_____
                                                      Wesley D. Few, S.C. Fed. Id. 07371
                                                      P.O. Box 9398
                                                      Greenville, South Carolina 29604
                                                      (864) 527-5906 | wes@wesleyfew.com

                                                      COUNSEL TO PLAINTIFFS
  7:22-cv-03576-DCC   Date Filed 03/06/25      Entry Number 116       Page 2 of 2




WE CONSENT:

                                            RAHIMI, HUGHES & PADGETT, LLC

                                            /s/ JOSEPH Y. RAHIMI II
                                            JOSEPH Y. RAHIMI II
                                            Federal ID No. 9670
                                            JOHN A. HUBERT
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                                            ATTORNEYS FOR DEFENDANTS
                                            LIMESTONE, WATKINS, and
                                            HAMMONDS




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